            Case 1:19-cv-01989-JEB Document 23 Filed 04/14/20 Page 1 of 6




Suzelle M. Smith, D.C. Bar No. 376384
Don Howarth, CA Bar No. 53783
523 West Sixth Street, Suite 728
Los Angeles, California 90014
(213) 955-9400
ssmith@howarth-smith.com
dhowarth@howarth-smith.com

Attorneys for Claimants
Jeremy Levin and Dr. Lucille Levin

                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,
                                                Civil Action No. 1:19-cv-1989-(JEB)
               Plaintiff,

       v.

OIL TANKER BEARING INTERNATIONAL
MARITIME ORGANIZATION (IMO) NUMBER
9116412, A/K/A “ADRIAN DARYA 1,” F/K/A
“GRACE 1,”

ALL PETROLEUM WHICH IS OR WAS
ONBOARD OIL TANKER BEARING
INTERNATIONAL MARITIME
ORGANIZATION (IMO) NUMBER 9116412 AS
PART OF APRIL 2019 SHIPMENT,

       -and-

$999.950.00 AT U.S. BANK 1
ASSOCIATED WITH PARADISE GLOBAL
TRADING LLC

               Defendants.


CLAIMANT LUCILLE LEVIN AND NONPARTY SUZELLE M. SMITH, TRUSTEE OF
THE JEREMY ISADORE LEVIN 2012 REVOCABLE TRUST, AS AMENDED, NOTICE
               OF MOTION AND MOTION TO SUBSTITUTE
            Case 1:19-cv-01989-JEB Document 23 Filed 04/14/20 Page 2 of 6




          PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law and

Declaration of Suzelle M. Smith, Claimant and Judgment Creditor Dr. Lucille Levin and

nonparty Suzelle M. Smith, Trustee of the Jeremy Isadore Levin 2012 Revocable Trust, as

amended, hereby submit this motion to substitute. For the reasons stated in the accompanying

Memorandum of Law, the Court should substitute Suzelle M. Smith, Trustee of the Jeremy

Isadore Levin 2012 Revocable Trust, for Jeremy Levin as claimant and judgment creditor in this

action.

          Pursuant to Local Civil Rule 7(m), counsel for Dr. Levin and Ms. Smith discussed this

motion with counsel for the Government, and the latter advised that the motion is unopposed.



                                                      Respectfully submitted,

Dated: April 14, 2020                                 HOWARTH & SMITH

                                              By:      /s/ Suzelle M. Smith
                                                      Suzelle M. Smith, D.C. Bar No. 376384
                                                      Don Howarth, CA Bar No. 53783
                                                      523 West Sixth Street, Suite 728
                                                      Los Angeles, California 90014
                                                      (213) 955-9400
                                                      ssmith@howarth-smith.com
                                                      dhowarth@howarth-smith.com

                                                      Attorneys for Claimants
                                                      Jeremy Levin and Dr. Lucille Levin




                                                 1
            Case 1:19-cv-01989-JEB Document 23 Filed 04/14/20 Page 3 of 6




Suzelle M. Smith, D.C. Bar No. 376384
Don Howarth, CA Bar No. 53783
523 West Sixth Street, Suite 728
Los Angeles, California 90014
(213) 955-9400
ssmith@howarth-smith.com
dhowarth@howarth-smith.com

Attorneys for Claimants
Jeremy Levin and Dr. Lucille Levin

                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,
                                                Civil Action No. 1:19-cv-1989-(JEB)
               Plaintiff,

       v.

OIL TANKER BEARING INTERNATIONAL
MARITIME ORGANIZATION (IMO) NUMBER
9116412, A/K/A “ADRIAN DARYA 1,” F/K/A
“GRACE 1,”

ALL PETROLEUM WHICH IS OR WAS
ONBOARD OIL TANKER BEARING
INTERNATIONAL MARITIME
ORGANIZATION (IMO) NUMBER 9116412 AS
PART OF APRIL 2019 SHIPMENT,

       -and-

$999.950.00 AT U.S. BANK 1
ASSOCIATED WITH PARADISE GLOBAL
TRADING LLC

               Defendants.


   MEMORANDUM OF LAW IN SUPPORT OF CLAIMANT LUCILLE LEVIN AND
  NONPARTY SUZELLE M. SMITH, TRUSTEE OF THE JEREMY ISADORE LEVIN
      2012 REVOCABLE TRUST, AS AMENDED, MOTION TO SUBSTITUTE
          Case 1:19-cv-01989-JEB Document 23 Filed 04/14/20 Page 4 of 6




        Claimant Dr. Lucille Levin and nonparty Suzelle M. Smith, Trustee of the Jeremy Isadore

Levin 2012 Revocable Trust, as amended (the “Trust”), respectfully submit this memorandum of

law in support of their motion, pursuant to Rule 25(c) of the Federal Rules of Civil Procedure, to

substitute Ms. Smith, Trustee of the Trust, for Claimant Jeremy Levin as claimant and judgment

creditor in this action.

I.      FACTUAL BACKGROUND

        In 1984, while serving as Middle East Bureau Chief for CNN, Jeremy Levin was

abducted by Hezbollah in Beirut, Lebanon. Mr. Levin was held hostage, starved, and tortured

until his escape eleven and half months later, on February 14, 1985. On February 6, 2008, the

District Court for the District of Columbia entered judgments on behalf of Mr. Levin and Dr.

Levin totaling over $28 million against the Islamic Republic of Iran, the Iranian Ministry of

Information and Security, and the Iranian Islamic Revolutionary Guard Corps (collectively

“Iran”). Levin v. Islamic Republic of Iran, Case No. 05-2494. The judgments later were revived

for another 12 years on January 24, 2020. Id., dkt. 33. On July 2, 2012, Mr. Levin assigned and

transferred his judgment against Iran to the Trust. Declaration of Suzelle M. Smith (“Smith

Decl.”) ¶ 5, filed concurrently herewith. From the time of the transfer and until his death, Mr.

Levin brought actions to collect the judgment in his own name, as was his right. Federal Rule of

Civil Procedure 25(c) (“If an interest is transferred, the action may be continued by or against the

original party unless the court, on motion, orders the transferee to be substituted in the action or

joined with the original party.”).

        On February 6, 2020, Jeremy Levin died. Smith Decl. ¶ 4. Upon Mr. Levin’s death, his

daughter, Suzelle M. Smith, became the Trustee of the Trust. Smith Decl. ¶ 6; Smith Decl. Ex.

A. The primary beneficiary of the Trust is his widow, Dr. Levin. Smith Decl. ¶ 7. Mr. Levin




                                                  1
          Case 1:19-cv-01989-JEB Document 23 Filed 04/14/20 Page 5 of 6




and Dr. Levins’ judgments remain partially unsatisfied in an amount over $15 million. Smith

Decl. ¶ 8. At the time of Mr. Levin’s death, Mr. Levin and Dr. Levin were claimants in the

above-entitled action pending in this Court.

II.    ARGUMENT

       Where, as here, the interests underlying a claim have been transferred, Federal Rule of

Civil Procedure 25(c) provides that the Court may, upon motion, direct “the transferee to be

substituted in the action or joined with the original party.” See also Paleteria La Michoacana,

Inc. v. Productos Lacteos Tocumbo S.A. De C.V., 247 F. Supp. 3d 76, 90 (D.D.C. 2017) (“Any

substitution or joinder under Rule 25(c) does not change the substance of the litigation, but

simply allows the case to go forward when an interest changes hands.”). The primary

consideration in deciding a motion to substitute pursuant to Rule 25(c) is whether substitution

will facilitate the litigation. Id. at 89 (“The proper criteria for deciding a motion under Rule

25(c) is whether substitution would ‘facilitate the conduct of the litigation.’”); see also Branch

Banking & Tr. Co. v. Morehouse, No. CV 10-0912 DAR, 2011 WL 13257608, at *4 (D.D.C.

Oct. 11, 2011) (“Rule 25(c) merely enables an action to continue unabated where a cause of

action does survive transfer. Since a judgment on an interest transferred during the pendency of

trial is binding on successors of interest, dismissal and summary judgment are unnecessary and,

in fact, counterproductive as they undermine the continuity in action that Rule 25(c) substitution

was designed to facilitate.”).

       Here, Mr. Levin cannot continue as a party to this action. See Mohammadi v. Islamic

Republic of Iran, 947 F. Supp. 2d 48, 54 n.2 (D.D.C. 2013), aff’d, 782 F.3d 9 (D.C. Cir. 2015)

(“A deceased individual cannot serve as the real party in interest in a civil action.”). The action

and co-claimant Dr. Levin’s interests will be facilitated by substituting Ms. Smith, Trustee of the




                                                  2
           Case 1:19-cv-01989-JEB Document 23 Filed 04/14/20 Page 6 of 6




Trust, which Trust is the transferee and owner of Mr. Levin’s judgment, as the named claimant

in place of Mr. Levin. Dr. Levin also has her own judgment against Iran.

III.    CONCLUSION

        For the foregoing reasons, the Court should substitute Suzelle M. Smith, Trustee of the

Jeremy Isadore Levin 2012 Revocable Trust, for Jeremy Levin as claimant and judgment creditor

in this action.



                                                     Respectfully submitted,

Dated: April 14, 2020                                HOWARTH & SMITH

                                             By:      /s/ Suzelle M. Smith
                                                     Suzelle M. Smith, D.C. Bar No. 376384
                                                     Don Howarth, CA Bar No. 53783
                                                     523 West Sixth Street, Suite 728
                                                     Los Angeles, California 90014
                                                     (213) 955-9400
                                                     ssmith@howarth-smith.com
                                                     dhowarth@howarth-smith.com

                                                     Attorneys for Claimants
                                                     Jeremy Levin and Dr. Lucille Levin




                                                3
